                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE

 UNITED STATES OF AMERICA
                                                        No. 3:22-CR-118
         v.
                                                        Judge Varlan
 EDWARD KELLEY


         UNITED STATES’ SUPPLEMENTAL RESPONSE TO DEFENDANT’S
        MOTION TO VACATE JURY CONVICTION AND DISMISS INDICTMENT

       On March 7, 2025, the United States submitted a response opposing the defendant’s motion

to dismiss the indictment (Doc. 95). In part, the United States argued that the defendant’s conduct in

this case was unrelated in both time and place to the events that occurred at or near the United States

Capitol on January 6, 2021, and therefore, the plain language of the Proclamation does not apply to

the defendant’s East Tennessee case.

       In support of this argument, the United States cited as an example, United States v. Wilson,

D.D.C. Case No. 1:23-cr-427. In Wilson, the U.S. Attorney’s Office for the District of Columbia

originally argued that the defendant’s firearm convictions were not covered by the Proclamation and

the court agreed. See United States v. Wilson, D.D.C. Case No. 1:23-cr-427, Doc. 103, Minute

Order, Feb. 7, 2025. The United States submits this supplement to inform the Court that on February

25, 2025, the U.S. Attorney’s Office for the District of Columbia changed its earlier position in

Wilson and now asserts that the Proclamation covers Wilson’s firearm convictions. Id. at Doc. 108.

       In this case, the position of the United States has not changed. The offenses for which the

defendant was found guilty by an East Tennessee jury are the products of the defendant’s

independent volitional acts. They are not related to events at or near the U.S. Capitol on January 6,

2021, and Federal Rule of Criminal Procedure 48(a) does not permit the defendant to compel the




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United States to dismiss a case it does not wish to dismiss. The defendant’s motion should be

denied, and he should be sentenced as scheduled on May 7, 2025.

                                                      Respectfully submitted,

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                                                      UNITED STATES ATTORNEY

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